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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )         4:09CR3134
                                                )
                     Plaintiff,                 )
                                                )
       vs.                                      )
                                                )         ORDER
KORINA KUCERA,                                  )
                                                )
                     Defendant.                 )


       IT IS ORDERED that:

       (1)    The defendant’s unopposed motion to continue sentencing (filing 82) is
granted.

       (2)     Defendant Kucera’s sentencing is continued to Thursday, July 8, 2010, at 12:30
p.m., before the undersigned United States district judge, in Courtroom No. 1, United States
Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska. The
defendant shall be present unless excused by the court.

       (3)    The defendant’s motion to file request to deviate out of time (filing 84) is
granted.

       Dated June 24, 2010.

                                             BY THE COURT:

                                             Richard G. Kopf
                                             United States District Judge
